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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                          :
In re                                                     : Case No. 08-12666 (MG)
                                                          :
PACE PRODUCT SOLUTIONS, INC,                              :
                                                          :
                                                          : (Chapter 11)
                               Debtor.                    :
                                                          :
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 ORDER TO SHOW CAUSE SCHEDULING A HEARING TO CONSIDER THE APPLICATION
      OF THE UNITED STATES TRUSTEE SEEKING AN ORDER DIRECTING THE
 APPOINTMENT OF A CHAPTER 11 TRUSTEE OR, IN THE ALTERNATIVE, CONVERTING
       THE CASE TO A CASE UNDER CHAPTER 7 OF THE BANKRUPTCY CODE

        Upon the attached application (the "Application") of Diana G. Adams, the United States

Trustee for Region 2, pursuant to 11 U.S.C. §§ 1104 and 1112(b) of the Bankruptcy Code,

seeking an order directing the appointment of a Chapter 11 Trustee or, in the alternative,

converting the case to Chapter 7, and upon the memorandum of law, affidavit of Susan D.

Golden, Esq. submitted in support of the Application; and it appearing that an order to show

cause scheduling a hearing to consider the Application is necessary and beneficial to the estate

and its creditors; and it further appearing that no notice need be given; and after due deliberation

and sufficient cause appearing therefor, it is hereby

                ORDERED, that the Debtor in the above-named chapter 11 case and all other

parties in interest show cause on Thursday, July 24, 2008 at 2:00 p.m. before the Honorable

Martin Glenn, Bankruptcy Judge, in the United States Bankruptcy Court, Alexander Hamilton

Custom House, One Bowling Green, Courtroom 501, New York, New York 10004, or as soon

after as counsel may be heard, why this Court should not enter an order granting the relief
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requested in the Application and directing the appointment of a Chapter 11 Trustee or,

alternatively, converting the case to Chapter 7, and it is further

                 ORDERED, that: (A) service of this Order To Show Cause, the Memorandum of

Law and supporting documents, by e-mail or facsimile upon: (i) Daniel M. Katzner, Esq., 1025

Longwood Avenue, Bronx, New York 10459, attorney for the Debtor; (ii) Lowenstein Sandler,

65 Livingston Avenue, Roseland, NJ 07068 attn: Bruce Buechler, Esq., attorneys for Summa

Capital Corp. and (B) service of this Order To Show Cause, the Memorandum of Law and

supporting documents, by facsimile or overnight regular mail upon the Debtor at 304 East 78th

Street, Apt. 5F, New York, NY 10021 and all creditors listed in the Debtor’s Local Bankruptcy

Rule 1007-2 Affidavit on or before July 23, 2008 at 5:00 p.m., shall be deemed good and

sufficient service and notice of the Order to Show Cause and hearing scheduled herein, and that

no other or further notice is necessary or required; and it is further

               ORDERED, that responses, if any, to the relief requested in the Application shall be

in writing, shall set forth with particularity the grounds for such opposition or other statement of

position, shall be filed with the Bankruptcy Court, and served upon the Office of the United

States Trustee, 33 Whitehall Street, 21st Floor, New York, New York 10004, Attention: Susan D.

Golden Esq., with a courtesy copy delivered directly to the Chambers of the Honorable Martin

Glenn, Bankruptcy Judge, in a manner reasonably calculated to be received before July 24, 2008

at 9:00 a.m.

Dated: New York, New York
       July 23, 2008
                                               /s/ Martin Glenn
                                               HONORABLE MARTIN GLENN
                                               BANKRUPTCY JUDGE


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